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 3                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 4                                   AT TACOMA

 5 KEITH ANDERSON,

 6                                                   CASE NO. C15-5414 BHS
                             Plaintiff,
 7 v.                                                ORDER ADOPTING REPORT
                                                     AND RECOMMENDATION
 8 KITSAP COUNTY JAIL, et al.,

 9                           Defendants.

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11           This matter comes before the Court on the Report and Recommendation (“R&R”)

12 of the Honorable David W. Christel, United States Magistrate Judge. Dkt. 18. The Court

13 having considered the R&R and the remaining record, and no objections having been

14 filed, does hereby find and order as follows:

15           (1)   The R&R is ADOPTED; and

16           (2)   Plaintiff’s complaint is DISMISSED without prejudice, and this case is

17 closed.

18           Dated this 22nd day December, 2015.

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                                                    A
                                                    BENJAMIN H. SETTLE
                                                    United States District Judge

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     ORDER
